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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


VALUE DRUG COMPANY, on                      )
behalf of                                   )
itself and all others similarly situated,   ) Civil Action No. 2:21-cv-03500-
                                            ) MAK
                     Plaintiffs             )
                                            )
              v.                            )
                                            )
TAKEDA PHARMACEUTICALS                      )
U.S.A., INC., et al.,                       )
                                            )
                     Defendants


           SPECIAL MASTER RECOMMENDED ORDER NO. 18

                                      July 8, 2022

       By ECF Document No. 310, Plaintiff Value Drug Company has moved to

compel Defendants Watson Laboratories, Inc. (“Watson”) and Amneal

Pharmaceuticals LLC (“Amneal”) to produce the mediation position statements

submitted during the Colcrys patent litigation, the settlement of which forms a key

component of this antitrust action.1 The mediation statements were submitted in

response to an Order of United States Magistrate Judge Mary Pat Thynge, which

directed that the parties describe the strengths and weaknesses of their cases;

1
 The mediation statements were submitted in August of 2015, and the claims
against Watson and Amneal were resolved in December of 2015. Plaintiff alleges
that the settlements were part of a conspiracy to restrain trade by delaying the entry
of generic competition for the brand name pharmaceutical.
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summarize prior settlement negotiations; and present a settlement proposal. (ECF

Document No. 310 at 2.) Plaintiff asserts that “the mediation statements are highly

relevant sources of information [to] assess Watson and Amneal’s motivations and

expectations in joining the alleged conspiracy.” (Id.)

      Watson and Amneal refuse to produce the mediation position statements,

citing the confidentiality provision of Judge Thynge’s order governing the 2015

Colcrys mediation. That confidentiality provision states:

         The contents of the mediation statements and the mediation
         conference discussions, including any resolution or settlement,
         shall remain confidential, shall not be used in the present
         litigation nor any other litigation (whether presently pending or
         filed in the future), and shall not be construed as nor constitute
         an admission. Breach of this provision shall subject the violator
         to sanctions.


Takeda Pharm. v. Par Pharm. Cos., Inc., No. 1:13-cv-01524-SLR, ECF No. 182

(D. Del., Apr. 6, 2015) (bold face in original; italics added.)2 Watson and Amneal

also invoke a “mediation privilege,” established by some legislatures and courts to

shield from discovery communications made in connection with mediation. See,




2
 It is undisputed that Par Pharmaceutical Inc., also a defendant in the matter sub
judice, has produced its mediation position statement to Plaintiff. That fact,
however, is not dispositive of the right of Amneal and Watson to refuse to produce
their mediation position statements.
                                         2
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e.g., Sheldone v. Pa. Tpk. Comm’n, 104 F. Supp. 2d 511, 513 (W.D. Pa. 2000)

(M.J. Caiazza), order aff’d, (Aug. 8, 2000).3

      Plaintiff disputes the existence of a “mediation privilege,” asserting that such

a privilege “has not been recognized by the Supreme Court, the Third

Circuit, or any court of appeals, by any decision within the District of Delaware (in

which the patent litigation took place), or any decision within the past 20 years in

this District.” (ECF Document No. 356 at 3.) There is, however, no need to

consider the existence vel non of a common law “mediation privilege” and whether

it applies here because Judge Thynge’s specific order governing mediation in the

Colcrys litigation is controlling and plainly entitles Watson and Amneal to refuse

production of their mediation position statements.

      The Order unambiguously covers the mediation position statements at issue

here and assures Watson and Amneal that the statements shall not be used in any

other litigation. Relying upon information concerning Judge Thynge’s approach to

mediation that had appeared on the District of Delaware’s website,

www.ded.uscourts.gov, and submitted in this matter at ECF Document No. 356-3,

Plaintiff asserts that Judge Thynge allowed for “disclosure of confidential

mediation materials in a subsequent case with the ‘consent of the disclosing party’



3
 On May 23, 2022, the parties were requested to provide additional briefing on the
existence of a federal common law mediation privilege.
                                          3
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or a ‘court order.’” (ECF Document No. 356 at 2.) But Judge Thynge’s specific

Order governing the mediation at issue here does not contain such exceptions.

Considering the conspicuous absence of a “court order” exception to the

confidentiality provision governing mediation in the Colcrys patent litigation,

Amneal and Watson are entitled to decline to produce their mediation position

statements.4 Significantly, Amneal and Watson have agreed to produce “draft term

sheets, settlement agreements, and other Rule 408 exchanges of information

relevant to the settlement.” (ECF Document No. 346 at 6.) Thus, Plaintiff will not

be prejudiced by having Judge Thynge’s confidentiality order enforced here.

      ACCORDINGLY, IT IS HEREBY RECOMMENDED that Plaintiff’s

Motion (ECF Document No. 310) to Compel Amneal and Watson to produce the

mediation position statements submitted to Judge Thynge in the Colcrys patent

infringement litigation in April of 2015 be DENIED.



                                             s/ Thomas I. Vanaskie
                                             Hon. Thomas I. Vanaskie (Ret.)
                                             Special Discovery Master




4
 Because settlements of patent infringement cases often prompt antitrust scrutiny,
it is not surprising that parties compelled to mediate a patent infringement suit
would want to protect from subsequent disclosure their confidential mediation
position statements.
                                         4
